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EXHIBIT A
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UNITED STATES DISTRICT COURT
DISTRICT OCF MASSACHUSETTS

JACOB BRADLEY, NOAH BRADLEY,
KEITH RIDLEY, and JARED
THOMAS ,

Plaintiffs,
CIVIL ACTION NO. 05-10213-PB5
Vv.

CITY OF LYNN, et al.,

Defendants.

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ORDER ALLOWING CLASS CERTIFICATION

March 24, 2006
Saris, U.S.D.0.

Having determined that this case satisfies the requirements
of Fed. R. Civ. P. 23(a)} and (b) (2}, after hearing, the Court
ALLOWS Plaintiffs’ Motion for Class Certification (Docket No. 53)
with respect to the claims asserted in the First Amended
Complaint (Docket No. 44) against the Human Resources Division
(“HRD”) of the Commonwealth of Massachusetts and the Personnel
Administrator for the ERD. See Donahue v. City oF Boston, 371
F.3d 7, 12-14 (lst Cir. 2004) (holding that plaintiff had
standing to challenge a race conscious hiring program where
police officers demonstrated an “inability to compete on equal
footing” and were “able and ready”).

The Court certifies the following classes:

All minorities {Black and Hispanic) who took the

civil service examination for the position of fire
fighter within the Commonwealth of Massachusetts in
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the years 2002 and 2004.

All minorities (Black and Hispanic) who took the
Civil service examination for the position of
police officer within the Commonwealth of

Massachusetts in the years 2003 and 2005.
Pursuant to Fed. R. Civ. P. 23(g), the Court appoints as

class counsel the law firm Pyle, Rome, Lichter, Ehrenberg & Liss-

Riordan.

S/PATTI B. SARIS
United States District Judge

